   Case: 1:22-cv-03861 Document #: 11-7 Filed: 11/14/22 Page 1 of 2 PageID #:287




                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

FRED L NANCE JR                             )
                                            )       CASE # 22 CV 3861
       PLAINTIFF                            )
                                            )       HONORABLE JUDGE
       VS                                   )       JORGE L ALONSO
                                            )       HONORABLE MAGISTRATE JUDGE:
UNITED STATES, et al.                       )       BETH W. JANTZ
                                            )
       DEFENDANTS.                          )       Courtroom: 1903

                                      TABLE OF EXHIBITS

Exhibit 1: 4.28.20 Email to Bradley

Exhibit 2: 4.9.20 Wash Email Reporting Covid 19 Status Good

Exhibit 3: 4.28.22 USDOJ Certified Letter § 4712

Exhibit 4: 5.8.21 JustGrants System Glitches Email Chain

Exhibit 5: 5.25.21 DOJ Bethea Denial JustGrants System Glitches

Exhibit 6: 6.8.21 Judge Alonso Motion to Dismiss § 4712 w/o Prejudice

Exhibit 7: 7.6.20 Wash Misappropriation of Funds Email Chain

Exhibit 8: 7.14.20 Email Correction on Mentor Consultant Fees

Exhibit 9: 7.29.20 January thru June 2020 PMT Report

Exhibit 10: 8.25.20 Dr. Witherspoon Covid 19 Plan

Exhibit 11: 9.2.20 Cook County Jail Open Update to Program Staff

Exhibit 12: 9.7.20 Contractual Fees during Covid 19 January thru August 2020

Exhibit 13: 9.10.20 Cook County Jail Re-opening for our services

Exhibit 14: 9.21.20 Wash Giving False Information to Staff about closing program

Exhibit 15: 9.26.20 Staff Providing True Information to Clients about program closing

                                           Page 1 of 2
   Case: 1:22-cv-03861 Document #: 11-7 Filed: 11/14/22 Page 2 of 2 PageID #:288




Exhibit 16: 9.28.20 Email to Office of Special Counsel

Exhibit 17: 10.13.20 Email to Congressman Davis Illinois Department of Corrections and DOJ

employees

Exhibit 18: 10.15.20 DOJ Dever Email reporting Wash appointing Plaintiff as Grant

Administrator

Exhibit 19: 10.20.20 Whistleblower Emails and Handwritten Notes

Exhibit 20: Plaintiff Facilitating Letters of Support from Congressman Davis and Rush

Exhibit 21: Emails to EMAGES and DOJ employees about false termination letter

Exhibit 22: January thru March payments to Dorothy Collins

Exhibit 23: July thru September 2020 PMT Report

Exhibit 24: 5.17.22 Student Loan Forgiveness Program 1st Request

Exhibit 25: 7.15.22 Public Service Loan Forgiveness

Exhibit 26: 11.13.22 Peer Review Denial

Dkt. 8-7: Office for Special Counsel

Dkt. 8-9: OIG Sean O’Neil Letter – Regarding Whistleblower Complaint #2




                                          Page 2 of 2
